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                            Exhibit 190
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
                                          dWdllt;U,
                                                                                                                                                                                                           when it crosses the---U:S. ooraer.
    An investigator said the plane,          Among the culprits were Pal-         Wttltby Arab ln•tslon , - - - - - -
which was built for fourCase
                           people but1:03-md-01570-GBD-SN
                                         estinian merchants who re-               Document 10602-1                                                Filed 12/09/24                                        Page 2 ofto 2track
                                                                                                                                                                                                          Tough
carrying seven, could have been          deemed coupons for products                                                                                                                                           In recent years, federal agen-
overloaded with too much weight.         never purchased, then sent $ 100        ..L.
                                                                                  UASR• ----·-----
                                                                                         HOLY LA~'D FOl/'l'DATION                                       Mohamnwd Salah                                     cies have vastly improved their



                                                                                 -
    The unidentified woman jumped        million of that cash back to the          11l,,mir           Cltannf.wf ralYr for Pal.ffllntan                  Chrcatnutd                                        ability to track those funds, but
to safety just as the plane went into    Middle East.                               tlunJr.             ~IOO\l·sandnrpltonsbastdin                           cardr<tftrl
                                                                                                                                                                                                           banking secrecy laws, complexity
its fatal spin.                              Who benefited?                           rank                      R,chardsM. Tt.raf                       HA.\IAS ,•JJfl'cltnt
                                                                                                                                                                                                           and the sheer volume of transac-
                                             At least two of the major cou-       I                                                                                                                        tion makes the task daunting.
    The Cessna 210 took off from         pon fraud groupa were headed by          i
Homestead General Airport and
crashed about a mile away, its
                                         terrorists, says Nielsen's investi-
                                         gator, Ben Jacobson.
                                                                                  t+                     IITr
                                                                                             Spo,,sortd WIS£ J,u111•1t
                                                                                                                                                                                                               One suspect charitable organi-
                                                                                                                                                                                                           zation is the Holy Land Founda-
frame flattened and engulfed by                                                                                                                                                                            tion of Richardson, Texas, shut
flames in a field in a rural farming
district between Miami and the
Everglades.
                                             Coming
                                             Tuesur
                                                                 ln St. Lou-
                                                              is, he says,
                                                              the ringlead-
                                                              er was Zein
                                                              Isa, a U.S.
                                                                                  L            WISE' INSTITIITE
                                                                                              /J/a,,,K' «aJtMIC Un.ltr
                                                                                             •• •··1s1iiiuc"<:omm.-,ttt ••••
                                                                                                     for l'lit<un,
                                                                                                                                                                                                           down in Israel as a fund-raising
                                                                                                                                                                                                           tool of Hamas.
                                                                                                                                                                                                               Holy Land's U.S. branch de-
                                                                                                                                                                                                           nied any connections to Hamas
     National Transportation Safety             Nell In the                                                                                                                                                and continued to raise funds in
 Board investigator Jeffrey Kenne-           series: The      commander
                                                              of t he Abu                                                                                                                                  the United States.
 dy said the plane may not have              Pnce of Free-                                                                                                                                                     Yet IRS records show that its
 been going fast enough after mak-           dom              Nidal Organi-
                                                              zation, a                                                                                                                                    single biggest contribution in the
 ing a tum. "It's not a mechanical                                                                                                                                                                         United States between 1989 and
 failure," he said.                                           group re-
                                         sponsible for terrorist attacks                                                                                                                                   1994 was $210,000 from a Vir-
                                         that killed or injured 900 people
                                                                                                                                                                   \Jahmod              Zr,n l;a           ginia businessman named Mousa
 GM workers end strike                   in 20 nations. Mr. Isa later was                                                                 Dominlran
                                                                                                                                                                 AbouJ111im1
                                                                                                                                                               \\T(.' tM""rotxtt
                                                                                                                                                                                        A.. , . ,
                                                                                                                                                                                        ~,_,.,,            Abu Marzook - who emerged as
 The Associated Press                    convicted of murder.                                                                                Rl'publir ◄ .      RrJft1nt1J m.ir,11(,Kturrn                 Hamas' political leader.
     OKLAHOMA CITY - United                  In Brooklyn, Mr. Jacobson                                                                        &tnli
                                                                                                                                                                (llilfKJ#HllfSI [,JJUrJQlid\n-
                                                                                                                                                                }', ,,l citwp,c,,n, kt.n11e 1,,..,,t,
                                                                                                                                                                                                               Mr. Marzook was jailed in
 Auto Workers members voted              found a phony coupon redemption                                                                                                                                   New York after Israel arrested
 Sunday to resume work at a Gen-         center run by Mahumud Abouhal-                                                                                                                                    two U.S.-based men who claimed
 eral Motors Corp. assembly plant        ima - now serving 240 years in         AFGHAN DRUGS                                                                                                               he had given them $295,000 in
 while studying a tentative accord       prison for his role in the 1993                          •H
                                                                                                   -,.-.,. ._- ..,- .,...P- •            Dnog, m ,MMI h•                                                   cash and wire transfers, sending
                                                                                                                                                                                                           them to set up and finance terror-
 to end a 7-week-old strike.             World Trade Center (WTC)
                                         bombing.
                                                                                                    t.:-:=-:!·:~:,; ~-• ~r.'~~~ •                                                                          ist cells on the West Bank. Israel,
    Employees struck the plant,              " Before the bombing, we                                                                                                                                      fearful of Hamas violence if Mr.
 which produces the Oldsmobile           couldn't get the U.S. attorney's                                                                                                                                  Marzook was returned for trial,
 Cutlass and the Chevrolet Malibu,                                                                              The- US Dnii f..tlfonemtnt Adm1r11'-I
                                         office interested," Mr. Jacobson        •. . . . _                      t~m.Jtn $SOO m1lhon malt,                                                                 has now dropped the extradition
 on April 4 after failing to come to     says. "After the bombing, they          .....,,_                        PKKfromElllop,an,ncJ U.                                                                   request, and U.S. authorities this
 terms with the nation's biggest         just wanted us to keep our                                                                                                                                        month expelled Mr. Marzook to
 automaker on staffing, safety and       mouths shut."                          T EHRAN C ONNECTION                                                                                                        Jordan.
 health.                                    Justice Department officials                   llAN                   c..,,.,, MOJIO:,JjM,,                                                                        Mr. Marzook says his only
                                                                                                                                                          blamir ftnttrs
    The UAW workers will be paid         would not comment, but the case              Ch,efSfWIJ'lrcf          f..,lldo,u,n (5/0 /J,ll1M/ aod
                                                                                                                                                        V(",, )i1rt ,1un/11,rd                             income is about $40,000 a year
                                                                                  -orldM dt.wm>m"'                U.S Alttri FOM1fdatio11                Tnd\ C4Jlt(nrn1a                                  from a California company he
 their previous wages until a vote       makes it clear Middle East ter-          ,_,~                                 ,s,00,.,,11""''
 later this week to ratify a new local   rorists use the United States as a                                                                               FundNI t,1,unr                                   partly owns called Mecca Invest-
                                                                                                                                                        ffllt"4.lut, UkluJ1A,
 contract with GM.                       cash cow.                                                                                                        SbrlkOm>r
                                                                                                                                                                                                           ment International.
                                            Other U.S. crimes also fill ter-                       ALAVI FOli., DATIO!\                          ....    Abclrl-Rahman•s                                       But in an affidavit, FBI agent
 Ennis Cosby's last act                  rorist pockets. the Drug Enforce-         N,.,_ fort bostd. ollttrdh p,r,ndtd k IIPiarJhiPJ                                                                       Joe Hummel said Mr. Mm.ook
                                         ment Administration discovered.           alfffl4r11,r Rtml11l101U1n Guard,.,,._,,,,,,,.,,,,, r1trtr                                                              acknowledged to investigators that
The Amciated Press                                                                                   (.'.S t,Mt,/1                                                                                         he raised $900,000 from "Arab
                                             Undercover agents say $500
    NEW YORK - Ennis Cosby
may have been killed while offering
a cigarette to someone, Time mag-
azine reported.
                                         million from the sale of heroin in
                                         the United States and Europe
                                         goes to leaders of the PK.K, a
                                         Kurdish separatist group identi-
                                                                                       for,,wr A/au r,ffir,oh allt~tJJ, ptur#toftd
                                                                                      JffDIUllllJ for ((ttll~llll(HlfQ/ and'""'" -iJrf41rt

                                                                                                                                                          II iliiHAiii     The Associated Press
                                                                                                                                                                                                           investors abroad" for Mecca In-
                                                                                                                                                                                                           vestment. Mr. Hummel also says
                                                                                                                                                                                                           "millions of dollars passed through
                                                                                                                                                                                                           Mr. Marzook's bank accounts."
    Crime-scene photographs              fied by the State Department as        offshore Channel Islands financial                                                                                             While federal investigators try
 shown to magazine staffers showed       the world's deadliest terrorist or-    institutions, and then to the Mid- 'It's a big concern for                                                                 to untangle these money puzzles,
                                         ganization. The PKK controls           dle East.                                                                                                                  the New York attorney general's
 the slain son of Bill Cosby clutching
 a pack of cigarettes.                   drug-processing labs in eastern            Mr. Jacobson said the conspir-
                                                                                                                     us. Money that is                                                                     office and the FBI have eyed a
                                         Turkey that sit astride the drug       ators stole coupons from printing    collected    for charitable                                                           foundation connected to Iran.
    That, along with the pomt-blank      routes from Afghanistan to the         plants and recycling centers, then purposes is diverted for                                                                    The Alavi Foundation, a chari-
nature of the fatal gunshot wound,       West, investigators say.               set up centers where the coupons military and terrorist                                                                    ty controlled by the Shah of Iran
support the conjectured scenario,                                               were wrinkled, crumpled and                                                                                                until he was overthrown by the
                                             While crime is the most spec-
the magazine said in its June 2
issue, citing identified forensics ex-   tacular source, money also flows       sometimes stuck in driers to activities."                                                                                  current government, collects $ 10
                                         to terrorists through sleight-of-      make them look used.                                                                                                       million a year in rents from a
perts.                                                                                                                             - Philip Wilcox,                                                        Park Avenue office building. The
                                         hand schemes and legal charities.          They then delivered them to            of the State Department
                                             "It's a big concern for us,"       the manufacturers and claimed                                                                                              money goes to Islamic centers
                                         says Philip Wilcox, counter-ter-       refunds in the name of cooper-                                                                                             around the United States - in-
                                         rorism coordinator for the State       ating grocers. Many of the rings felony lies the gray area of foun-                                                        cluding at least $1.4 million to a
                                         Department. "Money that is col-        also ran food stamp fraud scams. dation     money and charities pro-
                                                                                                                     viding help to terrorist-linked
                                                                                                                                                                                                           Brooklyn mosque where a fre-
                                         lected for charitable purposes is                                                                                                                                 quent preacher was Sheik Omar
                                         diverted for military and terrorist    Tracing money is hard                groups.                                                                               Abdel-Rahman, later convicted in
                                         actiVlties."                              Mr. Jacobson said it is virtually    The U.S. Customs Service is                                                        the World Trade Center bomb-
                                             Tracing that money is difficult.   impossible to know the final desti- looking into the Tampa-based                                                           ing.
                                         A 1995 presidential order froze        nation of the money. But he notes World and Islam Studies. Enter-                                                              Two former top Alavi officials
                                         $800,000 in funds for a list of        !hat _Mi~mi-area ~rocers arrested prise !~un~ati~n, o~ ~~E,. ~L~r                                                           have_ been inv_estigated for trying
